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13
                              UNITED STATES DISTRICT COURT
14
                             CENTRAL DISTRICT OF CALIFORNIA
15
16       DANIEL KISSICK, on behalf of                Case No. 2:19-cv-01460
17       himself and all others similarly
         situated,                                   CLASS ACTION COMPLAINT
18                                      Plaintiff,
19                 v.                                JURY TRIAL DEMANDED
20       AMERICAN RESIDENTIAL
21       SERVICES, LLC,
22                                    Defendant.
23
24
25
26
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28
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 1            Plaintiff Daniel Kissick (“Plaintiff” or “Mr. Kissick”), individually and on
 2      behalf of all others similarly situated, alleges the following on information and belief
 3      against American Residential Services, LLC (“ARS” or “Defendant”) regarding
 4      Defendant’s violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227
 5      (the “TCPA”). Plaintiff brings this Complaint to: (1) stop Defendant’s practice of
 6      placing calls using an automatic telephone dialing system (“ATDS”) to the cellular
 7      telephones of consumers nationwide without their prior express written consent; (2)
 8      enjoin Defendant from continuing to place calls using an ATDS to consumers who
 9      did not provide their prior express written consent to receive them; and (3) obtain
10      redress for all persons injured by its conduct.
11                                             PARTIES
12            1.     Plaintiff Daniel Kissick is, and at all times mentioned herein was, a
13      resident of Whittier, California, and a citizen of the State of California.
14            2.     Defendant American Residential Services, LLC is a corporation
15      organized under the laws of Delaware, with a principal place of business at 965
16      Ridge Lake Boulevard, Suite 201, Memphis, TN 38120. ARS conducts business in
17      this District and throughout the United States.
18                                 JURISDICTION AND VENUE
19            3.     This Court has subject matter jurisdiction over this action pursuant to
20      the Class Action Fairness Act of 2005, Pub. L. No. 109-2 Stat. 4 (“CAFA”), which,
21      inter alia, amends 28 U.S.C. § 1332, at new subsection (d), conferring federal
22      jurisdiction over class actions where, as here: (a) there are 100 or more members in
23      the proposed class; (b) some members of the proposed class have a different
24      citizenship from Defendant; and (c) the claims of the proposed class members
25      exceed the sum or value of five million dollars ($5,000,000) in aggregate. See 28
26      U.S.C. § 1332(d)(2) and (6).
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 1            4.     This Court also has federal question jurisdiction pursuant to 28 U.S.C. §
 2      1331 because this action involves violations of a federal statute, the TCPA.
 3            5.     This Court has personal jurisdiction over Defendant because the
 4      wrongful conduct giving rise to this case occurred in, was directed to, and/or
 5      emanated from this District.
 6            6.     Venue is proper in this District under 28 U.S.C. § 1391(b) because
 7      Plaintiff resides in this District and because the wrongful conduct giving rise to this
 8      case occurred in, was directed to, and/or emanated from this District.
 9                    FACTS COMMON TO ALL CAUSES OF ACTION
10      A.    The TCPA Of 1991
11            7.     In 1991, Congress enacted the TCPA in response to a growing number
12      of consumer complaints regarding certain telemarketing practices.
13            8.     The TCPA regulates, among other things, the use of automated
14      telephone equipment, or “autodialers,” defined as equipment which “has the capacity
15      . . . (a) to store or produce telephone numbers to be called, using a random or
16      sequential number generator; and (b) to dial such numbers.” 47 U.S.C. § 227(a)(1).
17      Specifically, the plain language of section 227(b)(1)(A)(iii) prohibits the use of
18      autodialers to make any call to a wireless number in the absence of an emergency or
19      the prior express consent of the called party. The same section forbids making calls
20      using an “artificial or prerecorded voice.” Id.
21            9.     The FCC has issued rulings clarifying that in order to obtain an
22      individual’s consent, a clear, unambiguous, and conspicuous written disclosure must
23      be provided by the individual. 2012 FCC Order, 27 FCC Rcd. at 1839 (“[R]equiring
24      prior written consent will better protect consumer privacy because such consent
25      requires conspicuous action by the consumer—providing permission in writing—to
26      authorize autodialed or prerecorded telemarketing calls. . . .”).
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 1      B.    Defendant’s Calls To Plaintiff And Class Members
 2            10.    ARS called Plaintiff using an automatic telephone dialing system
 3      without his prior express written consent at least once, including a call on December
 4      14, 2018 from the telephone number (615) 239-0855.
 5            11.    Defendant owns the telephone number (615) 239-0855. In fact, when
 6      the number is dialed back, a recording plays a message starting: “Thank you for
 7      calling ARS Rescue Rooter.”
 8            12.    When Plaintiff answered Defendant’s call, he heard a momentary pause.
 9      This pause is a hallmark of a predictive dialer. According to the Federal
10      Communications Commission and experts on telecommunications equipment,
11      predictive dialers have the inherent present capacity to both (1) store and dial a list of
12      telephone numbers without human intervention, and (2) generate random or
13      sequential telephone numbers and to then dial those numbers.
14            13.    At all times material to this Complaint, Defendant was and is fully
15      aware that unwanted autodialed calls are being made to consumers’ telephones
16      through its own efforts and those of its agents.
17            14.    Defendant knowingly made (and continues to make) autodialed calls to
18      consumers’ telephones without the prior express written consent of the call
19      recipients. In so doing, Defendant not only invaded the personal privacy of Plaintiff
20      and members of the putative Class, but also intentionally and repeatedly violated the
21      TCPA.
22                               CLASS ACTION ALLEGATIONS
23            15.    Plaintiff brings this action on behalf of himself and on behalf of all
24      other persons similarly situated.
25            16.    Plaintiff proposes the following Class definition:
                     All persons within the United States who (a) received a
26
                     telephone call on his or her cellular telephone; (b) made by
27                   or on behalf of Defendant; (c) at any time in the period that
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                           begins four years before the filing of the complaint in this
 1
                           action to the date that class notice is disseminated.
 2                17.      Plaintiff represents, and is a member of, this proposed Class. Excluded
 3      from the Class are Defendant and any entities in which Defendant has a controlling
 4      interest, Defendant’s agents and employees, any Judge and/or Magistrate Judge to
 5      whom this action is assigned, and any member of such Judges’ staffs and immediate
 6      families.
 7                18.      Numerosity. Plaintiff does not know the exact number of members in
 8      the proposed Class, but reasonably believes, based on the scale of Defendant’s
 9      business, that the Class is so numerous that individual joinder would be
10      impracticable.
11                19.      Existence and predominance of common questions of law and fact.
12      Plaintiff and all members of the proposed Class have been harmed by the acts of
13      Defendant in the form of multiple involuntary telephone and electrical charges, the
14      aggravation, nuisance, and invasion of privacy that necessarily accompanies the
15      receipt of unsolicited and harassing telephone calls, and violations of their statutory
16      rights.
17                20.      The disposition of the claims in a class action will provide substantial
18      benefit to the parties and the Court in avoiding a multiplicity of identical suits.
19                21.      The proposed Class can be identified easily through records maintained
20      by Defendant.
21                22.      There are well defined, nearly identical, questions of law and fact
22      affecting all parties. The questions of law and fact involving the class claims
23      predominate over questions which may affect individual members of the proposed
24      Class. Those common question of law and fact include, but are not limited to, the
25      following:
26                a. Whether Defendant made telephone calls to Plaintiff and class members
27                      using an ATDS without prior express consent;
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 1               b. Whether Defendant’s conduct was knowing and/or willful;
 2               c. Whether Defendant is liable for damages, and the amount of such damages,
 3                     and
 4               d. Whether Defendant should be enjoined from engaging in such conduct in the
 5                     future.
 6               23.      Typicality. Plaintiff asserts claims that are typical of each member of
 7      the Class because they are all persons who received calls on their telephones using
 8      an ATDS without their prior express written consent. Plaintiff will fairly and
 9      adequately represent and protect the interests of the proposed Class, and has no
10      interests which are antagonistic to any member of the proposed Class.
11               24.      Adequacy of Representation. Plaintiff will fairly and adequately
12      represent and protect the interests of the proposed Class, and has no interests which
13      are antagonistic to any member of the proposed Class.
14               25.      Plaintiff has retained counsel experienced in handling class action
15      claims involving violations of federal and state consumer protection statutes.
16               26.      Superiority. A class action is the superior method for the fair and
17      efficient adjudication of this controversy.
18               27.      Class wide relief is essential to compel Defendant to comply with the
19      TCPA.
20               28.      The interest of the members of the proposed Class in individually
21      controlling the prosecution of separate claims against Defendant is small because the
22      statutory damages in an individual action for violation of the TCPA are relatively
23      small.
24               29.      Management of these claims is likely to present significantly fewer
25      difficulties than are presented in many class claims because the calls at issue are all
26      automated and the members of the Class, by definition, did not provide the prior
27      express consent required under the statute to authorize calls to their telephones.
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 1            30.     Defendant has acted on grounds generally applicable to the proposed
 2      Class, thereby making final injunctive relief and corresponding declaratory relief
 3      with respect to the proposed Class as a whole appropriate.
 4            31.     Moreover, on information and belief, Plaintiff alleges that the TCPA
 5      violations complained of herein are substantially likely to continue in the future if an
 6      injunction is not entered.
 7                        FIRST CAUSE OF ACTION
           KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
 8
               CONSUMER PROTECTION ACT, 47 U.S.C. § 227, et seq.
 9
              32.     Plaintiff incorporates by reference the foregoing paragraphs of this
10
        Complaint as if fully stated herein.
11            33.     The foregoing acts and omissions of Defendant constitute numerous and
12      multiple knowing and/or willful violations of the TCPA, including but not limited to
13      each of the above-cited provisions of 47 U.S.C. § 227 et seq.
14            34.     As a result of Defendant’s knowing and/or willful violations of 47
15      U.S.C. § 227 et seq., Plaintiff and members of the proposed Class are entitled to
16      treble damages of up to $1,500.00 for each and every call made in violation of the
17      statute, pursuant to 47 U.S.C. § 227(b)(3)(C).
18            35.     Plaintiff and members of the proposed Class are also entitled to and do
19      seek injunctive relief prohibiting such conduct violating the TCPA by Defendant in
20      the future.
21            36.     Plaintiff and members of the proposed Class are also entitled to an
22      award of attorneys’ fees and costs.
23                          SECOND CAUSE OF ACTION
24        VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT,
                             47 U.S.C. § 227, et seq.
25
              37.     Plaintiff incorporates by reference the foregoing paragraphs of this
26
        Complaint as if fully stated herein.
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 1            38.     The foregoing acts and omissions of Defendant constitute numerous and
 2      multiple violations of the TCPA, including but not limited to each of the above-cited
 3      provisions of 47 U.S.C. § 227 et seq.
 4            39.     As a result of Defendant’s violations of 47 U.S.C. § 227 et seq., Plaintiff
 5      and members of the proposed Class are entitled to an award of $500.00 in statutory
 6      damages for each and every call made in violation of the statute, pursuant to 47
 7      U.S.C. § 227(b)(3)(B).
 8            40.     Plaintiff and members of the proposed Class are also entitled to, and do,
 9      seek injunctive relief prohibiting such conduct violating the TCPA by Defendant in
10      the future.
11            41.     Plaintiff and members of the proposed Class are also entitled to an
12      award of attorneys’ fees and costs.
13                                     PRAYER FOR RELIEF
14            WHEREFORE, Plaintiff respectfully requests that the Court grant Plaintiff
15      and all members of the proposed Class the following relief against Defendant:
16            a.      Injunctive relief prohibiting such violations of the TCPA by Defendant
17                    in the future;
18            b.      As a result of Defendant’s willful and/or knowing violations of the
19                    TCPA, Plaintiff seeks for himself and each member of the proposed
20                    Class treble damages, as provided by statute, of up to $1,500.00 for
21                    each and every call that violated the TCPA;
22            c.      As a result of Defendant’s violations of the TCPA, Plaintiff seeks for
23                    himself and each member of the proposed Class $500.00 in statutory
24                    damages for each and every call that violated the TCPA;
25            d.      An award of attorneys’ fees and costs to counsel for Plaintiff and the
26                    proposed Class;
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 1            e.     An order certifying this action to be a proper class action pursuant to
 2                   Federal Rule of Civil Procedure 23, establishing the appropriate Class,
 3                   finding that Plaintiff is a proper representative of the Class, and
 4                   appointing the lawyers and law firm representing Plaintiff as counsel
 5                   for the Class;
 6            f.     Such other relief as the Court deems just and proper.
 7                                 DEMAND FOR JURY TRIAL
 8            Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial
 9      by jury of any and all issues in this action so triable of right.
10
11      Dated: February 27, 2019          Respectfully submitted,
12
                                          BURSOR & FISHER, P.A.
13
                                          By:        /s/ L. Timothy Fisher
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                                                       L. Timothy Fisher
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